     Case: 1:22-cv-04127 Document #: 12 Filed: 08/26/22 Page 1 of 2 PageID #:117




                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


LARRY ATKINSON, EUGENE WALKER,
JASON GREENE, AND GIOVANNI
WILLIAMS, individually and on behalf of               Case No. 1:22-cv-04127
others similarly situated,
                                                      Honorable Martha M. Pacold
       Plaintiffs,

       v.

SUPER EGO HOLDINGS, LLC, FLOYD,
INC., KORDUN EXPRESS, INC., ROCKET
EXPEDITING, LLC, JORDAN HOLDINGS,
INC., REX TRUCKING, INC., AND
ALEKSANDAR MIMIC,

       Defendants.

                     DEFENDANTS’ CORPORATE DISCLOSURE AND
                          NOTIFICATION TO AFFILIATES

        Pursuant to Fed. R. Civ. P. 7.1 and Local Rule 3.2, Defendants Super Ego Holdings, LLC,

Floyd, Inc., Kordun Express, Inc., Rocket Expediting, LLC, Jordan Holdings, Inc., Rex Trucking,

Inc., and Aleksandar Mimic hereby provides its disclosure statement and notification as to

affiliates.

        Pursuant to Fed. R. Civ. P. 7.1, Defendants state that no Defendant has any parent

corporation and that no publicly held corporation owns 10% or more of any Defendants’ stock.

        Pursuant to Local Rule 3.2, Defendants state: the sole affiliate of Super Ego Holding, LLC

is Aleksandar Mimic, an individual; the sole affiliate of Floyd, Inc. is Aleksandar Mimic, an

individual; the sole affiliate of Kordun Express, Inc. is Biljana Mimic, an individual; the sole

affiliate of Rocket Expediting, LLC is Nina Dordevic, an individual; the sole affiliate of Jordan




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        Case: 1:22-cv-04127 Document #: 12 Filed: 08/26/22 Page 2 of 2 PageID #:118




Holdings, Inc. is Mihailo Pavlovic, an individual; the affiliate of Rex Trucking, Inc. is Vladimir

Ilic.



 Dated: August 26, 2022                    Respectfully submitted,

                                           /s/ Charles Andrewscavage
                                           Charles Andrewscavage
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                                           Attorney for Defendants,
                                           Super Ego Holdings, LLC, Floyd, Inc., Kordun
                                           Express, Inc., Rocket Expediting, LLC, Jordan
                                           Holdings, Inc., Rex Trucking, Inc., and Aleksandar
                                           Mimic
4879-6750-6480, v. 1




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